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                    UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
                          AUSTIN DIVISION

UMG Recordings, Inc., et al.           §
    Plaintiffs,                        §
vs.                                    §     NO: AU:17-CV-00365-DAE
                                       §
Grande Communications Networks         §
LLC, et al.                            §
                                       §
      Defendants.                      §


         ORDER RESETTING FINAL PRETRIAL CONFERENCE
      It is hereby ORDERED that the above entitled and numbered case is reset

for a FINAL PRETRIAL CONFERENCE before Senior U.S. District Judge David

A. Ezra in Courtroom 2, on the Fourth Floor of the United States Courthouse, 501

West Fifth Street, Austin, TX, on Tuesday, October 11, 2022 at 02:00 PM.

      IT IS SO ORDERED.

      DATED: Austin, Texas October 07, 2022.



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                                           DAVID A. EZRA
                                           SENIOR U.S. DISTRICT JUDGE
